       Case 1:18-cr-00309-LMM-LTW Document 187 Filed 02/25/22 Page 1 of 1

                          UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                   2211 UNITED STATES COURTHOUSE
                                      75 TED TURNER DRIVE, SW
                                    ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                                  DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                                   404-215-1655
AND CLERK OF COURT
                                            February 25, 2022

Clerk's Office - USCA No. 00-00000-00
U.S. Court of Appeals
Eleventh Circuit
56 Forsyth Street, NW
Atlanta, Georgia 30303

        Re:        United States of America v. Chalmer Detling, II
                   USDC Criminal No. 1:18-cr-309-LMM-LTW-1

       Enclosed are documents regarding an appeal in the action referenced above. Please
acknowledge receipt of same on the enclosed copy of this letter.

        Certified copy of notice of appeal, docket, order and/or judgment, and commitment
   X    appealed from enclosed.

        Original record exhibits transmitted pursuant to request. (See attached copy of request.)

        Appeal fees been paid.

   X    Certified copy of order appointing Federal Defender Program enclosed.

        Certified copy of CJA order appointing counsel enclosed.

        Appellant has been forwarded an application to proceed IFP.

        Appellant has been leave to proceed IFP, copy of order enclosed.

        An appeal bond has been denied.

   X    District Judge appealed from is Honorable Leigh Martin May.

        Other: .

The enclosed certified, record on appeal consists of:

         Volume(s) of pleadings                                 Envelope of Exhibits

         Volume(s) of transcripts.                              PSI enclosed. (SEALED)

                                                         Sincerely,

                                                         Kevin P. Weimer
                                                         Clerk of Court

                                                   By:   /s/P. McClam
Enclosures                                               Deputy Clerk




                                                                                                          37
                                  APPEAL,BOND,CLOSED,CertRdyTrl,EXH,MEDIUM,PROTO,SUBMDJ
                          U.S. District Court
                 Northern District of Georgia (Atlanta)
       CRIMINAL DOCKET FOR CASE #: 1:18−cr−00309−LMM−LTW−1

Case title: USA v. Detling                                   Date Filed: 08/08/2018

                                                             Date Terminated: 02/11/2022

Assigned to: Judge Leigh Martin
May
Referred to: Magistrate Judge
Linda T. Walker

Defendant (1)
Chalmer Detling, II                    represented by Molly Hiland Parmer
TERMINATED: 02/11/2022                                Parmer Law
also known as                                         1201 West Peachtree St
Chuck Detling                                         Suite 2300
TERMINATED: 02/11/2022                                Atlanta, GA 30309
                                                      404−795−5060
                                                      Fax: 404−795−5117
                                                      Email: Molly@Parmer.Law
                                                      TERMINATED: 10/22/2019
                                                      LEAD ATTORNEY
                                                      Designation: Public Defender or Community
                                                      Defender Appointment

                                                     Caitlyn Virginia Wade
                                                     Federal Defender Program
                                                     101 Marietta Street Northwest
                                                     Suite 1500
                                                     Atlanta, GA 30303
                                                     404−688−7530
                                                     Fax: 404−688−0768
                                                     Email: caitlyn_wade@fd.org
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Public Defender or Community
                                                     Defender Appointment

                                                     Suzanne Hashimi
                                                     Federal Defender Program Inc.−Atl
                                                     Suite 1500, Centennial Tower
                                                     101 Marietta Street, NW
                                                     Atlanta, GA 30303
                                                     404−688−7530
                                                     Fax: 404−688−0768
                                                     Email: Suzanne_Hashimi@FD.Org
                                                     ATTORNEY TO BE NOTICED

                                                                                                  1
                                  Designation: Public Defender or Community
                                  Defender Appointment

Pending Counts                    Disposition
                                  CBOP 46 MONTHS as to Counts Four, Five, Six,
                                  and Seven with all counts to run concurrent to each
                                  other, and 24 MONTHS as to Counts Eleven,
                                  Twelve, Thirteen, Fourteen, and Fifteen, to be
                                  served concurrent with each other and consecutive
                                  to Counts Four through Seven, for a total sentence
                                  of SEVENTY (70) MONTHS; SUPERVISED
18:1343.F FRAUD BY WIRE,
                                  RELEASE 3 YEARS as to Counts Four through
RADIO, OR TELEVISION
                                  Seven, to run concurrently with each other, and 1
(4s−7s)
                                  YEAR as to Counts Eleven through Fifteen, to run
                                  concurrently with each other, with all counts to run
                                  concurrently for a total term of THREE (3)
                                  YEARS; $900 total Special Assessment;
                                  $185,837.89 in Restitution to Mighty Group, Inc
                                  and $69,000.00 in Restitution to Capital Financing,
                                  to be paid in full immediately
                                  CBOP 46 MONTHS as to Counts Four, Five, Six,
                                  and Seven with all counts to run concurrent to each
                                  other, and 24 MONTHS as to Counts Eleven,
                                  Twelve, Thirteen, Fourteen, and Fifteen, to be
                                  served concurrent with each other and consecutive
                                  to Counts Four through Seven, for a total sentence
18:1028A(a)(1) FRAUD WITH         of SEVENTY (70) MONTHS; SUPERVISED
IDENTIFICATION                    RELEASE 3 YEARS as to Counts Four through
DOCUMENTS                         Seven, to run concurrently with each other, and 1
(11s−15s)                         YEAR as to Counts Eleven through Fifteen, to run
                                  concurrently with each other, with all counts to run
                                  concurrently for a total term of THREE (3)
                                  YEARS; $900 total Special Assessment;
                                  $185,837.89 in Restitution to Mighty Group, Inc
                                  and $69,000.00 in Restitution to Capital Financing,
                                  to be paid in full immediately

Highest Offense Level (Opening)
Felony

Terminated Counts                 Disposition
18:1343 − FRAUD BY WIRE,
                                  DISMISSED PURSUANT TO STANDING
RADIO, OR TELEVISION
                                  ORDER 07−04
(1−7)
18:1343.F FRAUD BY WIRE,
                                  DISMISSED PURSUANT TO STANDING
RADIO, OR TELEVISION
                                  ORDER 07−04
(1s−3s)



                                                                                         2
18:1028A(a)(1) − FRAUD WITH         DISMISSED PURSUANT TO STANDING
IDENTIFICATION                      ORDER 07−04
DOCUMENTS
(8−15)
18:1028A(a)(1) FRAUD WITH
IDENTIFICATION                      DISMISSED PURSUANT TO STANDING
DOCUMENTS                           ORDER 07−04
(8s−10s)

Highest Offense Level
(Terminated)
Felony

Complaints                          Disposition
None



Plaintiff
USA                           represented by Alex R. Sistla
                                             Office of the United States
                                             Attorney−ATL600
                                             Northern District of Georgia
                                             600 United States Courthouse
                                             75 Ted Turner Dr., S.W.
                                             Atlanta, GA 30303
                                             404−581−6000
                                             Fax: 404−581−6181
                                             Email: alex.sistla@usdoj.gov
                                             LEAD ATTORNEY
                                             ATTORNEY TO BE NOTICED
                                             Designation: Retained

                                            John Shantanu Ghose
                                            Northern District of Georgia
                                            100 Galleria Parkway
                                            Ste 1600
                                            Atlanta, GA 30339
                                            678−996−9079
                                            Email: john.ghose@fmglaw.com
                                            TERMINATED: 05/07/2020
                                            LEAD ATTORNEY
                                            Designation: Retained

                                            Samir Kaushal
                                            Office of the United States
                                            Attorney−ATL600
                                            Northern District of Georgia
                                            600 United States Courthouse
                                            75 Ted Turner Dr., S.W.

                                                                            3
                                                            Atlanta, GA 30303
                                                            404−581−6000
                                                            Email: samir.kaushal@usdoj.gov
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

Date Filed   #    Page Docket Text
08/08/2018    1        INDICTMENT, with Forfeiture Provision, as to Chalmer Detling, II (1)
                       count(s) 1−7, 8−15. (ddm) (Entered: 08/09/2018)
08/08/2018    2        MOTION to Seal Indictment filed by USA as to Chalmer Detling, II. (ddm)
                       (Entered: 08/09/2018)
08/08/2018    3        ORDER granting 2 MOTION to Seal Indictment filed by USA as to Chalmer
                       Detling II (1). Signed by Magistrate Judge Catherine M. Salinas on 8/8/18.
                       (ddm) (Entered: 08/09/2018)
08/08/2018    4        Defendant Information Sheet as to Chalmer Detling, II. (ddm) (Entered:
                       08/09/2018)
08/08/2018    5        Praecipe filed. Arrest Warrant Issued and delivered to USMS on 8/8/18 as to
                       Chalmer Detling, II. (ddm) (Entered: 08/09/2018)
08/10/2018    6        MOTION to Unseal Indictment by USA as to Chalmer Detling, II. (ddm)
                       (Entered: 08/13/2018)
08/10/2018    7        ORDER granting 6 Motion to Unseal Indictment as to Chalmer Detling II (1).
                       Signed by Magistrate Judge Catherine M. Salinas on 8/10/18. (ddm) (Entered:
                       08/13/2018)
08/10/2018    8        MOTION for Protective Order by USA as to Chalmer Detling, II. (ddm)
                       (Entered: 08/13/2018)
08/10/2018    9        Protective Order as to Chalmer Detling II (1). Signed by Magistrate Judge
                       Catherine M. Salinas on 8/10/18. (ddm) (Entered: 08/13/2018)
08/10/2018             Case as to Chalmer Detling, II Assigned to Judge Leigh Martin May and
                       Magistrate Judge Linda T. Walker. (ddm) (Entered: 08/13/2018)
08/10/2018   10        Minute Entry for proceedings held before Magistrate Judge Catherine M.
                       Salinas: INITIAL APPEARANCE as to Chalmer Detling, II.
                       ARRAIGNMENT held and PLEA of NOT GUILTY entered as to Counts
                       1−7,8−15. Bond Hearing held and Non−Surety Bond set at $50,000. Bond filed
                       and defendant released. (Attachments: # 1 Plea With Counsel) (Tape #FTR)
                       (ddm) (Entered: 08/13/2018)
08/10/2018   11        ORDER APPOINTING FEDERAL PUBLIC DEFENDER Molly Hiland
                       Parmer for Chalmer Detling, II. Signed by Magistrate Judge Catherine M.
                       Salinas on 8/10/18. (ddm) (Entered: 08/13/2018)
08/10/2018   12        CJA 23 Financial Affidavit by Chalmer Detling, II. (ddm) (Entered:
                       08/13/2018)
08/10/2018   13        Non−Surety Bond Entered as to Chalmer Detling, II in amount of $ 50,000.
                       (ddm) (Entered: 08/13/2018)


                                                                                                     4
08/10/2018   14   ORDER Setting Conditions of Release as to Chalmer Detling, II. Signed by
                  Magistrate Judge Catherine M. Salinas on 8/10/18. (ddm) (Entered:
                  08/13/2018)
08/16/2018   15   PRETRIAL SCHEDULING ORDER as to Chalmer Detling, II. Pretrial
                  Conference set for 8/29/2018 at 10:00 AM in ATLA Courtroom 1860 before
                  Magistrate Judge Linda T. Walker. Signed by Magistrate Judge Linda T.
                  Walker on 8/16/18. (jpa) (Entered: 08/17/2018)
08/20/2018   16   Request for Leave of Absence for the following date(s): Sept. 4, 2018, Sept. 5,
                  2018, Sept. 6, 2018, Sept. 7, 2018, by Molly Hiland Parmer. (Parmer, Molly)
                  (Entered: 08/20/2018)
08/20/2018   17   Notice for Leave of Absence for the following date(s): 9/21/2018, 9/24/2018,
                  9/25/2018, 9/26/2018, 9/27/2018, 9/28/2018, 10/1/2018, 10/02/2018,
                  10/03/2018, 10/04/2018, 10/05/2018, by Alex R. Sistla. (Sistla, Alex) (Entered:
                  08/20/2018)
08/22/2018   18   Unopposed MOTION to Continue the Pretrial Conference, Unopposed
                  MOTION for Extension of Time to File Pretrial Motions by Chalmer Detling,
                  II. (Attachments: # 1 Text of Proposed Order) (Parmer, Molly) (Entered:
                  08/22/2018)
08/22/2018   19   Request for Leave of Absence for the following date(s): Oct 12, 2018 & Oct
                  15, 2018, by Molly Hiland Parmer. (Parmer, Molly) (Entered: 08/22/2018)
08/23/2018   20   ARREST Warrant Returned Executed on 8/10/18 as to Chalmer Detling, II.
                  (hfm) (Entered: 08/23/2018)
08/28/2018   21   ORDER granting 18 Motion for Continuance of pretrial conference as to
                  Chalmer Detling II (1); granting 18 Motion for Extension of Time. Defendants
                  shall file Pretrial Motions by October 16, 2018. Time excluded from 8/28/18
                  until 10/18/18. as to Chalmer Detling II (1). Pretrial Conference re−set for
                  10/18/2018 at 11:00 AM in ATLA Courtroom 1860 before Magistrate Judge
                  Linda T. Walker. Signed by Magistrate Judge Linda T. Walker on 8/28/18.
                  (hfm) (Entered: 08/28/2018)
09/20/2018   22   MOTION to Modify Conditions of Release by Chalmer Detling, II.
                  (Attachments: # 1 Text of Proposed Order) (Parmer, Molly) (Entered:
                  09/20/2018)
09/21/2018   23   ORDER granting 22 Motion to Modify Conditions of Release as to Chalmer
                  Detling II (1). Signed by Magistrate Judge Catherine M. Salinas on 9/21/18.
                  (hfm) (Entered: 09/21/2018)
10/09/2018   24   Unopposed MOTION to Continue Pretrial Conference, Unopposed MOTION
                  for Extension of Time to File Pretrial Motions by Chalmer Detling, II.
                  (Attachments: # 1 Text of Proposed Order) (Parmer, Molly) (Entered:
                  10/09/2018)
10/09/2018   25   ORDER GRANTING 24 Motion for Continuance of Pretrial Conference and
                  Motion for Extension of Time to File Pretrial Motions as to Chalmer Detling II
                  (1). Pretrial Conference reset for 11/1/2018 at 10:30 AM in ATLA Courtroom
                  1860 before Magistrate Judge Linda T. Walker. The defendant shall file pretrial
                  motions on or before 10/30/2018. Time excluded from 10/9/2018 until
                  11/1/2018. Signed by Magistrate Judge Linda T. Walker on 10/9/2018. (adg)

                                                                                                    5
                  (Entered: 10/09/2018)
10/30/2018   26   MOTION to Dismiss for Lack of Jurisdiction by Chalmer Detling, II. (Parmer,
                  Molly) (Entered: 10/30/2018)
10/30/2018   27   MOTION to Dismiss Indictment by Chalmer Detling, II. (Parmer, Molly)
                  (Entered: 10/30/2018)
10/30/2018   28   MOTION for Bill of Particulars by Chalmer Detling, II. (Parmer, Molly)
                  (Entered: 10/30/2018)
10/30/2018   29   MOTION to Strike re: 1 Indictment Surplusage by Chalmer Detling, II.
                  (Parmer, Molly) (Entered: 10/30/2018)
10/30/2018   30   MOTION to Allow Participation in Voir Dire by Chalmer Detling, II. (Parmer,
                  Molly) (Entered: 10/30/2018)
11/01/2018   31   Minute Entry for proceedings held before Magistrate Judge Linda T. Walker:
                  Pretrial Conference as to Chalmer Detling, II. 26 Motion to Dismiss for Lack
                  of Jurisdiction, 27 Motion to Dismiss Indictment, 28 Motion for Bill of
                  Particulars, 29 Motion to Strike, 30 Motion to Allow Participation in Voir Dire
                  are TAKEN UNDER ADVISMENT. The Government shall have through
                  12/14/2018 in which to respond to the motions. The defendant shall have
                  through 1/11/2019 in which to file a reply. (Tape #FTR Gold) (btql) (Entered:
                  11/05/2018)
11/06/2018   32   Request for Leave of Absence for the following date(s): Dec. 26, 2018, through
                  Dec. 30, 2018, and Jan. 9, 2019, through Jan 11, 2019, by Molly Hiland
                  Parmer. (Parmer, Molly) (Entered: 11/06/2018)
12/12/2018   35   SUPERSEDING INDICTMENT as to Chalmer Detling, II (1) count(s) 1s−7s,
                  8s−15s. (beg) (Entered: 12/21/2018)
12/12/2018   36   Defendant Information Sheet as to Chalmer Detling, II. (beg) (Entered:
                  12/21/2018)
12/12/2018   37   Request for Arraignment as to Chalmer Detling, II. (beg) (Entered:
                  12/21/2018)
12/14/2018   33   RESPONSE in Opposition as to Chalmer Detling, II filed by USA re 26
                  MOTION to Dismiss for Lack of Jurisdiction , 30 MOTION to Allow
                  Participation in Voir Dire , 27 MOTION to Dismiss Indictment , 29 MOTION
                  to Strike re: 1 Indictment Surplusage, 28 MOTION for Bill of Particulars
                  (Sistla, Alex) (Entered: 12/14/2018)
12/14/2018   38   Summons Issued as to Chalmer Detling, II. Arraignment set for 12/31/2018 at
                  10:30 AM in ATLA Courtroom 1860 before Magistrate Judge Linda T.
                  Walker. (beg) (Entered: 12/21/2018)
12/17/2018   34   Request for Leave of Absence for the following date(s): Feb. 19, 2019− Feb.
                  22, 2019, and April 24, 2019− April 26, 2019, by Molly Hiland Parmer.
                  (Parmer, Molly) (Entered: 12/17/2018)
12/21/2018   39   Unopposed MOTION to Continue Arraignment by Chalmer Detling, II.
                  (Attachments: # 1 Text of Proposed Order) (Parmer, Molly) (Entered:
                  12/21/2018)


                                                                                                    6
12/21/2018   40   ORDER GRANTING 39 Motion for Continuance of Arraignment as to
                  Chalmer Detling II (1). Arraignment set for 1/14/2019 at 11:00 AM before
                  Magistrate Judge Linda T. Walker. The Clerk is directed to count as excludable
                  any delay occurring in rescheduling the hearing. Signed by Magistrate Judge
                  Linda T. Walker on 12/21/2018. (btql) (Entered: 12/21/2018)
01/11/2019   41   REPLY TO RESPONSE to Motion as to Chalmer Detling, II filed by Chalmer
                  Detling, II re: 26 MOTION to Dismiss for Lack of Jurisdiction , 30 MOTION
                  to Allow Participation in Voir Dire , 27 MOTION to Dismiss Indictment , 29
                  MOTION to Strike re: 1 Indictment Surplusage, 28 MOTION for Bill of
                  Particulars (Parmer, Molly) (Entered: 01/11/2019)
01/14/2019   42   Minute Entry for proceedings held before Magistrate Judge Alan J. Baverman:
                  ARRAIGNMENT as to Chalmer Detling II (1). PLEA of NOT GUILTY on
                  Counts 1s−7s, 8s−15s. (Attachments: # 1 Entry of Plea of Not Guilty and
                  Waiver of Appearance) (Tape #FTR) (btql) (Entered: 01/16/2019)
02/05/2019   43   PRETRIAL SCHEDULING ORDER as to Chalmer Detling, II. Pretrial
                  Conference set for 2/11/2019 at 11:00 AM before Magistrate Judge Linda T.
                  Walker. Signed by Magistrate Judge Linda T. Walker on 2/5/2019. (btql)
                  (Entered: 02/06/2019)
03/04/2019   44   Request for Leave of Absence for the following date(s): August 19, 2019,
                  through and including August 30, 2019, by Molly Hiland Parmer. (Parmer,
                  Molly) (Entered: 03/04/2019)
03/21/2019        ORDER TO CONTINUE − Ends of Justice as to Chalmer Detling, II;
                  Defendant informed the Court on March 4, 2018, that he would not be filing
                  any additional motions in this case and that it is ready for a ruling on the
                  motions that he previously filed. Time excluded from 02/06/2019 until
                  04/06/2019. APPROVED by Magistrate Judge Linda T. Walker on 03/21/2019.
                  (slc) (Entered: 03/21/2019)
04/30/2019        ORDER deferring ruling on 29 Motion to Strike Surplusage as to Chalmer
                  Detling II (1). Signed by Magistrate Judge Linda T. Walker on April 30, 2019.
                  (LTW) (Entered: 04/30/2019)
04/30/2019        ORDER deferring ruling on 30 Motion to Allow Participation in Voir Dire as
                  to Chalmer Detling II (1). Signed by Magistrate Judge Linda T. Walker on
                  April 30, 2019. (LTW) (Entered: 04/30/2019)
04/30/2019   45   ORDER AND FINAL REPORT AND RECOMMENDATION as to Chalmer
                  Detling, II recommending that the 26 MOTION to Dismiss for Lack of
                  Jurisdiction be DENIED AS MOOT and that the 27 MOTION to Dismiss
                  Indictment be DENIED. Signed by Magistrate Judge Linda T. Walker on
                  4/30/2019. (btql) (Entered: 04/30/2019)
04/30/2019        ORDER DENYING 28 Motion for Bill of Particulars as to Chalmer Detling II
                  (1). Ruled on by Magistrate Judge Linda T. Walker on 4/30/2019 in the 45
                  Final R&R. (btql) (Entered: 04/30/2019)
04/30/2019        ORDER CERTIFYING CASE READY FOR TRIAL as to Chalmer Detling,
                  II. Ruled by Magistrate Judge Linda T. Walker on 4/30/2019 in the 45 Final
                  R&R. (btql) (Entered: 04/30/2019)
04/30/2019   46

                                                                                                   7
                  ORDER for Service of 45 Report and Recommendation by Magistrate Judge
                  Linda T. Walker as to Chalmer Detling, II. Each party may file written
                  objections to the Report & Recommendation within 14 days of service. If no
                  objections are filed, the Report & Recommendation may be adopted as the
                  opinion and order of the District Court. Signed by Magistrate Judge Linda T.
                  Walker on 4/30/2019. (btql) (Entered: 04/30/2019)
05/02/2019   47   Notice for Leave of Absence for the following date(s): 07/15/2019,
                  07/16/2019, 07/17/2019, 07/18/2019, 07/19/2019, 07/22/2019, 07/23/2019,
                  07/24/2019, 07/25/2019, 07/26/2019,, by John Shantanu Ghose. (Ghose, John)
                  (Entered: 05/02/2019)
05/09/2019   48   Unopposed MOTION for Extension of Time to File Objections to the
                  Magistrate Judge's Report and Recommendation by Chalmer Detling, II.
                  (Attachments: # 1 Text of Proposed Order) (Parmer, Molly) (Entered:
                  05/09/2019)
05/10/2019   49   ORDER GRANTING 48 Motion for Extension of Time until 5/28/2019 for
                  Defendant to file Objections to the Report and Recommendation as to Chalmer
                  Detling II (1). Signed by Judge Leigh Martin May on 5/10/2019. (btql)
                  (Entered: 05/10/2019)
05/16/2019   50   Request for Leave of Absence for the following date(s): July 19, 2019, by
                  Molly Hiland Parmer. (Parmer, Molly) (Entered: 05/16/2019)
05/23/2019   51   OBJECTIONS TO 45 REPORT AND RECOMMENDATION as to Chalmer
                  Detling, II filed by Chalmer Detling, II (Parmer, Molly) (Entered: 05/23/2019)
05/29/2019   52   ORDER as to Chalmer Detling II (1)OVERRULING Defendant's Objections;
                  ADOPTING 45 Report and Recommendation ; DENYING as moot 26 Motion
                  to Dismiss for Lack of Jurisdiction; DENYING 27 Motion to Dismiss
                  Indictment ; GRANTING 30 Motion to Allow Participation in Voir Dire;
                  DEFERRING ruling on 29 Motion to Strike Surplusage in the Indictment, until
                  the pretrial conference. Signed by Judge Leigh Martin May on 5/29/2019. (adg)
                  (Entered: 05/29/2019)
05/29/2019   53   ORDER as to Chalmer Detling, II Jury Trial set for 8/26/2019 at 9:30 AM in
                  ATLA Courtroom 2107 before Judge Leigh Martin May., Pretrial Conference
                  set for 8/20/2019 at 09:30 AM in ATLA Courtroom 2107 before Judge Leigh
                  Martin May. By noon on Wednesday, 8/7/2019, the parties are to file the
                  following: motions in limine and proposed voir dire questions. By noon on
                  Wednesday, 8/7/2019, the Government must file a brief summary of the
                  indictment that the parties can rely on for voir dire. By noon on Wednesday,
                  8/14/2019, the parties are to file responses to motions in limine and any
                  objections and to those items listed above. Time excluded from 5/29/2019 until
                  8/16/2019, pursuant to 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv). Signed by
                  Judge Leigh Martin May on 5/29/2019. (See 52 Order]) (adg) (Entered:
                  05/29/2019)
06/06/2019   54   Request for Leave of Absence for the following date(s): September 27, 2019,
                  by Molly Hiland Parmer. (Parmer, Molly) (Entered: 06/06/2019)
06/26/2019   55   NOTICE SETTING TRIAL as to Chalmer Detling, II. The Jury Trial is set for
                  10/1/2019 at 09:30 AM in ATLA Courtroom 2107 before Judge Leigh Martin
                  May. A Pretrial Conference is set for 9/25/2019 at 09:30 AM in ATLA


                                                                                                   8
                  Courtroom 2107 before Judge Leigh Martin May. Please see the attached trial
                  calendar for additional deadlines and instructions.(rvb) (Entered: 06/26/2019)
06/26/2019        MINUTE ORDER CONTINUING Trial set for August 26, 2019 due to
                  Defendant's unopposed request to continue the trial date. The Court resets he
                  jury trial for Tuesday, October 1, 2019. Approved by Judge Leigh Martin May
                  on 06/26/2019. (rvb) (Entered: 06/26/2019)
06/26/2019   56   Notification of Docket Correction re 55 Notice Setting Trial. Case number was
                  correct on second page of the document. (rvb) (Entered: 06/26/2019)
07/18/2019   57   Request for Leave of Absence for the following date(s): October 15, 2019, by
                  Molly Hiland Parmer. (Parmer, Molly) (Entered: 07/18/2019)
07/31/2019   58   Request for Leave of Absence for the following date(s): October 11, 2019, by
                  Molly Hiland Parmer. (Parmer, Molly) (Entered: 07/31/2019)
08/09/2019   59   Unopposed MOTION to Continue Trial by Chalmer Detling, II. (Attachments:
                  # 1 Text of Proposed Order) (Parmer, Molly) (Entered: 08/09/2019)
08/15/2019   60   ORDER granting 59 Motion for Continuance of Trial as to Chalmer Detling II
                  (1). The Jury Trial is re−set for 12/10/2019 at 09:30 AM in ATLA Courtroom
                  2107 before Judge Leigh Martin May. Signed by Judge Leigh Martin May on
                  08/15/2019. (rvb) (Entered: 08/15/2019)
08/15/2019   61   NOTICE SETTING TRIAL as to Chalmer Detling, II. The Jury Trial is set for
                  12/10/2019 at 10:00 AM in ATLA Courtroom 2107 before Judge Leigh Martin
                  May. Please consult the trial calendar for pretrial deadlines and instructions.
                  (rvb) (Entered: 08/15/2019)
09/11/2019   62   Notice for Leave of Absence for the following date(s): January 21, 2020
                  through and including January 24, 2020, by Molly Hiland Parmer. (Parmer,
                  Molly) (Entered: 09/11/2019)
09/23/2019   63   MOTION to Modify Conditions of Release by Chalmer Detling, II.
                  (Attachments: # 1 Text of Proposed Order) (Parmer, Molly) (Entered:
                  09/23/2019)
09/24/2019   64   Withdrawal of Motion 63 MOTION to Modify Conditions of Release filed by
                  Chalmer Detling, II as to Chalmer Detling, II (Parmer, Molly) (Entered:
                  09/24/2019)
10/22/2019   65   Certification of Consent to Substitution of Counsel as to Chalmer Detling, II.
                  Suzanne Hashimi replacing attorney Molly Hiland Parmer. (Hashimi, Suzanne)
                  (Entered: 10/22/2019)
10/22/2019   66   NOTICE OF ATTORNEY APPEARANCE: Caitlyn Virginia Wade appearing
                  on behalf of Chalmer Detling, II (Wade, Caitlyn) (Entered: 10/22/2019)
11/22/2019   67   Unopposed MOTION to Continue Trial by Chalmer Detling, II. (Attachments:
                  # 1 Text of Proposed Order) (Wade, Caitlyn) (Entered: 11/22/2019)
11/22/2019   68   ORDER granting 67 Motion for Continuance of Trial as to Chalmer Detling II
                  (1) Jury Trial set for 4/21/2020 at 09:30 AM in ATLA Courtroom 2107 before
                  Judge Leigh Martin May. Time excluded from 11/22/2019−04/21/2020
                  pursuant to 18 U.S.C. § 3161, et seq. Signed by Judge Leigh Martin May on
                  11/22/2019. (tmf) (Entered: 11/22/2019)

                                                                                                    9
02/06/2020   69   NOTICE SETTING TRIAL as to Chalmer Detling, II.The Jury Trial is set for
                  4/21/2020 at 09:30 AM in ATLA Courtroom 2107 before Judge Leigh Martin
                  May. Please see the trial calendar for additional pretrial deadlines.(rvb)
                  (Entered: 02/06/2020)
02/29/2020   70   NOTICE OF ATTORNEY APPEARANCE Samir Kaushal appearing for USA.
                  (Kaushal, Samir) (Entered: 02/29/2020)
03/06/2020        Documents 71−74 are sealed. (jpa) (Entered: 03/06/2020)
03/13/2020   75   Unopposed MOTION to Continue Trial by Chalmer Detling, II. (Attachments:
                  # 1 Text of Proposed Order) (Wade, Caitlyn) (Entered: 03/13/2020)
03/16/2020   76   ORDER granting 75 Motion for Continuance as to Chalmer Detling II (1). Jury
                  Trial reset for 8/31/2020 at 09:30 AM in ATLA Courtroom 2107 before Judge
                  Leigh Martin May. Signed by Judge Leigh Martin May on 3/16/2020. (tmf)
                  (Entered: 03/16/2020)
03/20/2020   77   NOTICE SETTING TRIAL as to Chalmer Detling, II, Pretrial Conference set
                  for 8/18/2020 at 09:30 AM in ATLA Courtroom 2107 before Judge Leigh
                  Martin May. Jury Trial set for 8/31/2020 at 09:30 AM in ATLA Courtroom
                  2107 before Judge Leigh Martin May. Please see the attached trial calendar for
                  additional deadlines and instructions.(rlb) (Entered: 03/20/2020)
03/20/2020   78   ORDER TO CONTINUE − Ends of Justice as to Chalmer Detling, II.
                  GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER THE
                  EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                  CORONA VIRUS. Signed by Judge Thomas W. Thrash, Jr. on 3/16/2020.
                  (bdb) (Entered: 03/23/2020)
04/01/2020   79   Amended General Order 20−01 re COURT OPERATIONS UNDER THE
                  EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                  CORONA VIRUS. Signed by Judge Thomas W. Thrash, Jr. on 3/30/20. as to
                  Chalmer Detling, II (rvb) (ADI) (Entered: 04/01/2020)
05/04/2020   80   SECOND AMENDED GENERAL ORDER 20−01 IN RE: COURT
                  OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                  COVID−19 AND RELATED CORONA VIRUS as to Chalmer Detling, II
                  Signed by Judge Thomas W. Thrash, Jr. on 4/30/2020. (tmf) (Entered:
                  05/04/2020)
05/07/2020   81   NOTICE of Withdrawl of AUSA as to Chalmer Detling, II filed by USA
                  (Ghose, John) (Entered: 05/07/2020)
05/07/2020        Attorney update in case as to Chalmer Detling, II. Attorney John Shantanu
                  Ghose terminated. (tmf) (Entered: 05/07/2020)
05/26/2020   82   GENERAL ORDER 20−01 Third Amendment IN RE: COURT
                  OPERATIONS UNDERTHE EXIGENT CIRCUMSTANCES CREATED BY
                  COVID−19 AND RELATED CORONAVIRUS as to Chalmer Detling, II
                  Signed by Judge Thomas W. Thrash, Jr. on 5/26/2020. (tmf) (Entered:
                  05/26/2020)
07/01/2020   83   GENERAL ORDER 20−01 Fourth Amendment IN RE: COURT
                  OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                  COVID−19 AND RELATED CORONAVIRUS as to Chalmer Detling, II


                                                                                                   10
                  Signed by Judge Thomas W. Thrash, Jr. on 7/1/2020. (tmf) (Entered:
                  07/01/2020)
07/10/2020   84   GENERAL ORDER 20−01 Fifth Amendment IN RE: COURT OPERATIONS
                  UNDER THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19
                  AND RELATED CORONAVIRUS as to Chalmer Detling, II Signed by Judge
                  Thomas W. Thrash, Jr. on 7/10/2020. (tmf) (Entered: 07/15/2020)
07/16/2020   85   Joint MOTION to Continue Trial Date with Brief In Supportby USA as to
                  Chalmer Detling, II. (Sistla, Alex) (Entered: 07/16/2020)
07/21/2020   86   ORDER granting 85 Joint Motion for Continuance as to Chalmer Detling II
                  (1). Jury Trial reset for 3/1/2021 at 09:30 AM in ATLA Courtroom 2107
                  before Judge Leigh Martin May. Time is excluded from 8/31/2020 thru
                  3/1/2021 under the Speedy Trial Act. Signed by Judge Leigh Martin May on
                  7/21/2020. (tmf) (Entered: 07/21/2020)
07/24/2020   87   NOTICE SETTING TRIAL as to Chalmer Detling, II, Pretrial Conference set
                  for 2/23/2021 at 09:30 AM in ATLA Courtroom 2107 before Judge Leigh
                  Martin May. Jury Trial set for 3/1/2021 at 09:30 AM in ATLA Courtroom
                  2107 before Judge Leigh Martin May. (rlb) (Entered: 07/24/2020)
08/04/2020   88   GENERAL ORDER 20−01 Sixth Amendment IN RE: COURT OPERATIONS
                  UNDER THE EXIGENT CIRCUMSTANCES CREATED BY COVID−19
                  AND RELATED CORONAVIRUS as to Chalmer Detling, II Signed by Judge
                  Thomas W. Thrash, Jr. on 8/3/2020. (tmf) (Entered: 08/04/2020)
09/02/2020   89   SEVENTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                  OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                  COVID−19 AND RELATED CORONAVIRUS as to Chalmer Detling, II
                  Signed by Judge Thomas W. Thrash, Jr. on 9/1/2020. (tmf) (Entered:
                  09/02/2020)
09/28/2020   90   EIGHTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                  OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                  COVID−19 AND RELATED CORONA VIRUS. The time period of the
                  continuances implemented by this General Order will be excluded under the
                  Speedy Trial Act as to Chalmer Detling, II. Signed by Judge Thomas W.
                  Thrash, Jr. on 9/28/2020. (tcc) (Entered: 09/28/2020)
12/08/2020   91   NINTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                  OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                  COVID−19 AND RELATED CORONAVIRUS. The time period of the
                  continuances implemented by this General Order will be excluded under the
                  Speedy Trial Act as to Chalmer Detling, II Signed by Judge Thomas W.
                  Thrash, Jr. on 12/8/2020. (tmf) (Entered: 12/08/2020)
01/22/2021   92   Notice for Leave of Absence for the following date(s): 7/9, 7/12−7/16, 7/19
                  and 7/20/2021, by Samir Kaushal. (Kaushal, Samir) (Entered: 01/22/2021)
01/27/2021   93   ORDER as to Chalmer Detling, II. TENTH AMENDMENT TO GENERAL
                  ORDER 20−01 RE: COURT OPERATIONS UNDER THE EXIGENT
                  CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                  CORONAVIRUS. The time period of the continuances implemented by this
                  General Order will be excluded under the Speedy Trial Act. Signed by Judge


                                                                                                11
                   Thomas W. Thrash, Jr. on 1/27/2021. (tmf) (Entered: 01/28/2021)
02/08/2021         NOTICE OF CANCELLATION of Hearing re: 87 NOTICE SETTING TRIAL
                   as to Chalmer Detling, II, Pretrial Conference set for 2/23/2021 at 09:30 AM in
                   ATLA Courtroom 2107 before Judge Leigh Martin May. Jury Trial set for
                   3/1/2021 at 09:30 AM in ATLA Courtroom 2107 before Judge Leigh Martin
                   May. (bnp) (Entered: 02/08/2021)
03/09/2021    94   ORDER as to Chalmer Detling, II. ELEVENTH AMENDMENT TO
                   GENERAL ORDER 20−01 RE: COURT OPERATIONS UNDER THE
                   EXIGENT CIRCUMSTANCES CREATED BY COVID−19 AND RELATED
                   CORONAVIRUS. The time period of the continuances implemented by this
                   General Order will be excluded under the Speedy Trial Act. Signed by Judge
                   Thomas W. Thrash, Jr. on 3/9/2021. (tmf) (Entered: 03/09/2021)
04/08/2021    95   NOTICE SETTING TRIAL as to Chalmer Detling, II. The Jury Trial is set for
                   Wednesday, June 23, 2021 at 09:30 AM in ATLA Courtroom 2107 before
                   Judge Leigh Martin May. A Pretrial Conference is set for 6/16/2021 at 10:00
                   AM in ATLA Courtroom 2107 before Judge Leigh Martin May. Please see the
                   attached trial calendar for additional deadlines and instructions. (bnp) (Entered:
                   04/08/2021)
04/14/2021    96   MOTION to Continue Trial Date with Brief In Supportby USA as to Chalmer
                   Detling, II. (Sistla, Alex) (Entered: 04/14/2021)
04/15/2021    97   ORDER granting 96 Motion for Continuance as to Chalmer Detling II (1). Jury
                   Trial reset for 9/7/2021 at 09:30 AM in ATLA Courtroom 2107 before Judge
                   Leigh Martin May. Pretrial Conference reset for 8/31/2021 at 10:00 AM in
                   ATLA Courtroom 2107 before Judge Leigh Martin May. The period of time
                   between May 3, 2021 and September 7, 2021, is excluded from the Speedy
                   Trial Act. Signed by Judge Leigh Martin May on 4/14/2021. (tmf) (Entered:
                   04/15/2021)
04/30/2021    98   Request for Leave of Absence for the following date(s): July 8, 2021 through
                   July 12, 2021, by Suzanne Hashimi. (Hashimi, Suzanne) (Entered: 04/30/2021)
06/14/2021    99   NOTICE SETTING TRIAL as to Chalmer Detling, II. A Jury Trial is set for
                   Tuesday, September 7, 2021 at 09:30 AM in ATLA Courtroom 2107 before
                   Judge Leigh Martin May. The Pretrial Conference is set for Tuesday, August
                   31, 2021 at 10:00 AM in ATLA Courtroom 2107 before Judge Leigh Martin
                   May. (See attached Calendar for additional deadlines and details.) (bnp)
                   (Entered: 06/14/2021)
07/12/2021   100   NOTICE SETTING TRIAL as to Chalmer Detling, II. A Jury Trial is set for
                   Wednesday, September 8, 2021, at 09:30 AM in ATLA Courtroom 2107
                   before Judge Leigh Martin May. The Pretrial Conference is set for Tuesday,
                   August 31, 2021, at 10:00 AM in ATLA Courtroom 2107 before Judge Leigh
                   Martin May. (bnp) (Entered: 07/12/2021)
08/06/2021         Documents 101−102 are sealed. (jpk) (Entered: 08/06/2021)
08/13/2021         Documents 103−104 are sealed. (cmd) (Entered: 08/13/2021)
08/17/2021   105   MOTION in Limine To Exclude Bar Proceedings by Chalmer Detling, II.
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                   Exhibit 5) (Hashimi, Suzanne) (Entered: 08/17/2021)

                                                                                                        12
08/17/2021   106   MOTION in Limine To Exclude Prior Settlements by Chalmer Detling, II.
                   (Hashimi, Suzanne) (Entered: 08/17/2021)
08/17/2021   107   MOTION in Limine To Exclude Firm Financing Loan From Capital Financing
                   by Chalmer Detling, II. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                   3) (Hashimi, Suzanne) (Entered: 08/17/2021)
08/17/2021   108   Proposed Voir Dire Questions as to Chalmer Detling, II (Hashimi, Suzanne)
                   (Entered: 08/17/2021)
08/17/2021   109   MOTION in Limine to Exclude 404(b) Evidence by Chalmer Detling, II.
                   (Wade, Caitlyn) (Entered: 08/17/2021)
08/17/2021   110   MOTION in Limine to Admit or Exclude Certain Evidence with Brief In
                   Supportby USA as to Chalmer Detling, II. (Attachments: # 1 Exhibit Ex. A −
                   Affidavit of C. Detling, # 2 Exhibit Ex. B − Consolidated Pretrial Order Dkt
                   6772, # 3 Exhibit Ex. C − Excerpt 6−29−16 Tr., # 4 Exhibit Ex. D − Excerpt
                   6−29−16− Tr., # 5 Exhibit Ex E. − Oct 31 2016 Ga Sup Ct Order, # 6 Exhibit
                   Ex. F − 3−2−15 Letter from C Detlng, # 7 Exhibit Ex. G 5−30−16 Detling
                   Resp. to Interrogatory, # 8 Exhibit Ex. H 9−20−16 Detling Pet Vol Surrender)
                   (Sistla, Alex) (Entered: 08/17/2021)
08/17/2021   111   NOTICE OF FILING Summary of Indictment as to Chalmer Detling, II filed
                   by USA (Sistla, Alex) (Entered: 08/17/2021)
08/17/2021   112   Proposed Voir Dire Questions as to Chalmer Detling, II by USA. (Sistla, Alex)
                   (Entered: 08/17/2021)
08/17/2021   113   MOTION in Limine Exclude Hearsay with Brief In Supportby USA as to
                   Chalmer Detling, II. (Sistla, Alex) (Entered: 08/17/2021)
08/17/2021   114   MOTION in Limine to Admit Summary Chart with Brief In Supportby USA as
                   to Chalmer Detling, II. (Sistla, Alex) (Entered: 08/17/2021)
08/23/2021   115   NOTICE: Procedures for the Conduct of Jury Trials. (bnp) (Entered:
                   08/23/2021)
08/24/2021   116   OBJECTION to 108 Proposed Voir Dire Questions as to Chalmer Detling, II
                   filed by USA (Kaushal, Samir) (Entered: 08/24/2021)
08/24/2021   117   RESPONSE in Opposition as to Chalmer Detling, II filed by USA re 106
                   MOTION in Limine To Exclude Prior Settlements (Kaushal, Samir) (Entered:
                   08/24/2021)
08/24/2021   118   RESPONSE in Opposition as to Chalmer Detling, II filed by USA re 107
                   MOTION in Limine To Exclude Firm Financing Loan From Capital Financing
                   (Attachments: # 1 Exhibit 1)(Kaushal, Samir) (Entered: 08/24/2021)
08/24/2021   119   RESPONSE in Opposition as to Chalmer Detling, II filed by Chalmer Detling,
                   II re 114 MOTION in Limine to Admit Summary Chart (Wade, Caitlyn)
                   (Entered: 08/24/2021)
08/24/2021   120   OBJECTION to 111 Notice of Filing as to Chalmer Detling, II filed by
                   Chalmer Detling, II (Wade, Caitlyn) (Entered: 08/24/2021)
08/24/2021   121   OBJECTION to 112 Proposed Voir Dire Questions as to Chalmer Detling, II
                   filed by Chalmer Detling, II (Wade, Caitlyn) (Entered: 08/24/2021)


                                                                                                     13
08/24/2021   122   RESPONSE in Opposition as to Chalmer Detling, II filed by USA re 105
                   MOTION in Limine To Exclude Bar Proceedings (Kaushal, Samir) (Entered:
                   08/24/2021)
08/24/2021   123   RESPONSE in Opposition as to Chalmer Detling, II filed by Chalmer Detling,
                   II re 113 MOTION in Limine Exclude Hearsay (Wade, Caitlyn) (Entered:
                   08/24/2021)
08/24/2021   124   RESPONSE in Opposition as to Chalmer Detling, II filed by Chalmer Detling,
                   II re 110 MOTION in Limine to Admit or Exclude Certain Evidence (Wade,
                   Caitlyn) (Entered: 08/24/2021)
08/26/2021         NOTICE SETTING TRIAL as to Chalmer Detling, II. The Jury Trial is set for
                   Thursday, September 9, 2021 at 09:00 AM in ATLA Courtroom 2107 before
                   Judge Leigh Martin May. The Pretrial Conference is set for August 31, 2021 at
                   10:00 AM in ATLA Courtroom 2306 before Judge Leigh Martin May. Please
                   see Calendar at Docket No. 100 for all other deadlines and details. (bnp)
                   (Entered: 08/26/2021)
08/26/2021   125   NOTICE of Intention to Use 404(b) Evidence filed by USA as to Chalmer
                   Detling, II (Attachments: # 1 Exhibit Special Master Report Dkt 6640, # 2
                   Exhibit Special Master Report Dkt. 6772, # 3 Exhibit Special Master Report
                   Dkt. 6804, # 4 Exhibit Feb. 15 2015 email from C Detling to J Kelley, # 5
                   Exhibit C Detling Pet. for Vol. Surrender, # 6 Exhibit Mar 3 2016 email from
                   C Detling to J Schwadron, # 7 Exhibit Mar 16 2016 email from C Detling to J
                   Schwadron, # 8 Exhibit Excerpt from July 26, 2016 Hearing, # 9 Exhibit Nov
                   28 2014 email correspondenc)(Sistla, Alex) (Entered: 08/26/2021)
08/27/2021   126   MOTION to Continue Trial with Brief In Support by Chalmer Detling, II.
                   (Wade, Caitlyn) (Entered: 08/27/2021)
08/30/2021         NOTICE OF HEARING as to Chalmer Detling, II. Telephone Conference set
                   for 8/30/2021 at 11:00 AM before Judge Leigh Martin May. Dial−in
                   instructions have been emailed to counsel. (bnp) (Entered: 08/30/2021)
08/30/2021         NOTICE OF CANCELLATION of Hearing as to Chalmer Detling, II. The
                   Pretrial Conference set for August 31, 2021 and the Jury Trial set for
                   September 9, 2021 are cancelled. (bnp) (Entered: 08/30/2021)
08/30/2021   128   Minute Entry for proceedings held before Judge Leigh Martin May: Telephone
                   Conference as to Chalmer Detling, II. The Court held a telephone conference
                   on Defendant's Motion to Continue Trial. The Court heard from the
                   Government and Defendant's counsel. The Court GRANTED the motion but
                   noted any future request for a continuance would likely be denied. (Court
                   Reporter Viola Zborowski) (cmd) (Entered: 08/31/2021)
08/31/2021   127   ORDER granting 126 Motion for Continuance of Trial as to Chalmer Detling II
                   (1). The jury trial will be rescheduled for a date and time to be determined by
                   the Court. The Court finds that the ends of justice served by taking such action
                   outweigh the best interest of the public and the defendant in a speedy trial as
                   allowed in 18 USC 3161(h)(7). IT IS HEREBY ORDERED that the above
                   styled criminal action be continued and that the period of time between now
                   and the rescheduled jury trial date be excluded from the Speedy Trial Act.
                   Signed by Judge Leigh Martin May on 8/31/2021. (cmd) (Entered: 08/31/2021)



                                                                                                      14
09/08/2021   129   Notice for Leave of Absence for the following date(s): 1/13/2022−1/18/2022,
                   2/16/2022−2/21/2022, by Alex R. Sistla. (Sistla, Alex) (Entered: 09/08/2021)
09/14/2021   130   Notice for Leave of Absence for the following date(s): 11/23, 11/24 and
                   11/26/2021, by Samir Kaushal. (Kaushal, Samir) (Entered: 09/14/2021)
09/22/2021   131   NOTICE SETTING TRIAL as to Chalmer Detling, II. A Jury Trial is set for
                   Thursday, October 21, 2021 at 09:00 AM in ATLA Courtroom 2107 before
                   Judge Leigh Martin May. The Pretrial Conference is set for Wednesday,
                   October 13, 2021 at 10:00 AM in ATLA Courtroom 2107 before Judge Leigh
                   Martin May. (bnp) (Entered: 09/22/2021)
10/12/2021         Documents 132−133 are sealed. (cmd) (Entered: 10/12/2021)
10/12/2021   134   ORDER ALLOWING AUDIO/VISUAL EQUIPMENT IN THE
                   COURTROOM starting on October 13, 2021 as to Chalmer Detling, II. Signed
                   by Judge Leigh Martin May on 10/12/2021. (bnp) (Entered: 10/12/2021)
10/13/2021         NOTICE OF HEARING as to Chalmer Detling, II. Pretrial Conference set for
                   Tuesday, October 19, 2021 at 11:00 AM in ATLA Courtroom 2107 before
                   Judge Leigh Martin May. (bnp) (Entered: 10/13/2021)
10/13/2021   135   NOTICE OF FILING Joint Proposed Summary of Indictment as to Chalmer
                   Detling, II filed by USA (Kaushal, Samir) (Entered: 10/13/2021)
10/13/2021   139   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   is for Thursday, October 21, 2021. The first day of trial will start at 9:30 a.m.
                   Counsel shall report to Courtroom 2107 at 9:15 a.m. The CRD will send notice
                   when it is time to report to the 23rd floor ceremonial courtroom for jury
                   selection. Each subsequent day of trial will begin at 9:00 a.m. Counsel should
                   plan to arrive by 8:45 a.m. The parties will confer as to whether the defendant
                   shall wear a face mask or face shield during the trial and notify the Court if
                   there is disagreement. The parties shall submit their jury instructions and
                   proposed verdict form by the end of the day Monday, October 18th on
                   CM/ECF and in Word format emailed to Ms. Poley. The Government shall
                   inform the Court whether they would prefer the Court to charge the jury before
                   or after closing arguments. Defense counsel requested that the Court charge the
                   jury prior to closing argument. The Court requested the Government provide a
                   notebook of exhibits with tabs with the exhibit number to be delivered to
                   chambers the morning of trial. The parties shall have 30 minutes each for
                   opening statements. If the parties plan on using any exhibits during opening
                   statements, the parties must confer with opposing counsel. Any objections to
                   exhibits used in opening statements must be raised prior to opening statements.
                   The Governments final witness and exhibit lists shall be emailed to Ms. Poley
                   the day before trial. The Court encouraged the parties to admit exhibits by
                   stipulation when possible. The Court will arrange a time the morning of trial to
                   discuss the existence of a plea agreement with the defendant. The Government
                   made an ORAL MOTION to dismiss Counts 1−3 and 8−10 of the Indictment.
                   The Court GRANTED the motion as unopposed. The parties shall confer on
                   the Government's revised Indictment. Regarding the parties' motions in limine
                   relating to the defendant's bar proceedings, the Court will allow the
                   Government to talk about the fact that there was a bar investigation/proceeding.
                   The Court excluded testimony that Mr. Detling voluntarily gave up his license
                   unless the door is opened by defense counsel. The Court ordered the


                                                                                                       15
                   Government to revise the Indictment to remove language that the defendant is
                   not licensed and to confer with defense counsel as to other possible changes.
                   The Court will not exclude the defendant's testimony, statements, and
                   stipulations made during the bar proceedings based on the reasons raised
                   during the conference. The Court made the following rulings on the
                   Government's 110 Consolidated Motion in Limine: Motion 1 is DEFERRED;
                   the Court has not excluded these statements on the basis Defendant requested.
                   Motion 2 is DENIED IN PART AND DEFERRED; the Court will not prohibit
                   all mentions of the medical condition but will limit the testimony; defense
                   counsel shall provide their list of questions to the Government by the end of the
                   day on Friday, October 15th. The parties shall notify the Court if there is
                   disagreement. The Court will not allow the introduction of the medical records.
                   Motions 3 and 4 are GRANTED unless the door is opened by Government's
                   counsel, then the Court will revisit. Motion 5 was agreed upon except as it
                   related to penalties; the Court will exclude penalty evidence. The Court
                   confirmed that no further rulings were needed on the remainder of the
                   Governments 110 motion. The Court DEFERRED until trial ruling on the
                   Government's 113 Motion in Limine to Exclude Hearsay Testimony. The Court
                   DEFERRED until trial ruling on Defendant's 106 Motion in Limine to Exclude
                   Prior Settlements. The Court will address the remaining motions at the pretrial
                   conference set for Tuesday, October 19th at 11:00 a.m. The parties are
                   instructed to contact Ms. Poley if additional pretrial issues needing Court
                   attention arise. The parties are directed to the transcript of the pretrial
                   conference for additional details and deadlines. As for more details regarding
                   the Courts rulings on evidentiary issues, the parties are directed to the
                   transcript. Hearing not concluded. Court adjourned and will reconvene at 11:00
                   a.m. on October 19, 2021. (Court Reporter Montrell Vann) (rjc) (Entered:
                   10/20/2021)
10/18/2021   136   Proposed Jury Instructions as to Chalmer Detling, II filed by USA (Sistla,
                   Alex) (Entered: 10/18/2021)
10/18/2021   137   Requests to Charge as to Chalmer Detling, II (Wade, Caitlyn) (Entered:
                   10/18/2021)
10/19/2021   140   Minute Entry for proceedings held before Judge Leigh Martin May: Regarding
                   defense counsel's proposed questions concerning the defendant's daughter's
                   medical condition, the Court will allow questions 1, 2, and 4. Question 7 is
                   allowed with the Court's modification. The Court GRANTED IN PART &
                   DEFERRED IN PART the Governments Motion in Limine to Admit Summary
                   Chart 114 . The Court will allow evidence as to the uncharged advances. The
                   Court deferred its ruling on the admission of the Government's summary chart
                   until trial. Regarding the Defendants Motion in Limine to Exclude 404(b)
                   Evidence 114 and the Government's Notice to Introduce 404(b) Evidence 125 ,
                   the Government withdrew item 2 regarding Mr. Rahman. The Court will not
                   allow evidence regarding the altered insurance coverage issue. The Court will
                   allow evidence of Defendant's failure to inform clients about actions taken as it
                   pertains to Mr. Ochoa but will exclude evidence regarding the settled case
                   involving Mr. Lake. The Court will allow the overdraft notices related to the
                   Georgia Bar investigation. Regarding the Defendants Motion in Limine to
                   Exclude Prior Settlements 106 and the Governments motion to exclude
                   evidence and testimonyregarding attempts at repayment (part of the
                   Governments ConsolidatedMotions in Limine 110 ), the Court deferred its

                                                                                                       16
                   ruling. Defense counselrequested time to review before the expected evidence
                   comes in on Monday.The parties will notify the Court if there is an
                   issue.Regarding Defendants Motion in Limine to Exclude Firm Financing
                   Loanfrom Capital Financing 107 , the Court observed that the
                   Governmentagreed to parts of the motion in its Response. The Court will not
                   excludeevidence regarding the $80k loans from Capital Financing.Defense
                   counsel is directed to provide a limiting jury instruction regarding404(b)
                   evidence. Defense will exchange with Government's counsel and provide by
                   Friday, October 22nd. Defendants deadline for providing exhibit and witness
                   lists is Monday, October 25th. The Court will have a brief hearing to address
                   the existence of a plea agreement with the defendant on Thursday, October
                   22nd at 9:15 a.m. Regarding the parties' proposed voir dire questions,
                   Defendant withdrew the objection to Government's question 22. The Court will
                   allow 22 but 23 will only be asked as a follow−up if applicable. Government's
                   questions 24−26 are repetitive of the Court's questions and are not allowed.
                   Defense counsel were instructed to revise questions 2, 4, 12, 18, 20.
                   Defendants question 31 is repetitive of the Courts question and is not allowed.
                   The Court excluded Defendants question 34. Any COVID−related questions
                   will be asked by the Court. If defense counsel wants to supplement the Court's
                   questions regarding COVID, they are directed to exchange the proposed
                   questions with Government's counsel and provide to the Court by noon on
                   Wednesday, October 20th. As for more details regarding the Courts rulings on
                   evidentiary issues, the parties are directed to the transcript. (Court Reporter
                   Montrell Vann) (rjc) (Entered: 10/20/2021)
10/20/2021   138   Requests to Charge as to Chalmer Detling, II (Wade, Caitlyn) (Entered:
                   10/20/2021)
10/20/2021   141   ORDER: In response to the Court's discussion of proposed COVID voir dire
                   questions during the last pretrial conference, defense counsel has notified the
                   Court that they are requesting that the Court ask questions 35, 36, 37, 39, and a
                   modified question similar to 40 from their requested instructions. The Court
                   has reviewed these requested questions and will ask jurors question 37 along
                   with the other COVID−related questions previously provided. The Court will
                   also include aspects of modified question 40. Signed by Judge Leigh Martin
                   May on 10/20/2021. (rjc) (Entered: 10/20/2021)
10/21/2021         PRO SE ORAL MOTION to Dismiss based on Speedy Trial violations by
                   Chalmer Detling, II. (cmd) (Entered: 10/25/2021)
10/21/2021   143   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   begun as to Chalmer Detling, II on 10/21/2021. Prior to voir dire, the Court had
                   an ex parte hearing with defense counsel regarding Defendant's request to
                   make a motion to dismiss prior to voir dire. The Court reconvened with
                   Government's and Defendant's counsel. The Court heard Mr. Detling's pro se
                   ORAL MOTION to Dismiss based on speedy trial violations. The Court
                   ORALLY DENIED Defendant's Motion. The Court explained to Mr. Detling
                   that he incorrectly asserted that the motion to strike surplusage in the
                   indictment 29 was not addressed during the pretrial conference. The transcript
                   of the pretrial conference should confirm that the Court orally GRANTED IN
                   PART and DEFERRED IN PART the motion. The Court pointed Mr. Detling
                   to the transcript of the pretrial conference as controlling over the minutes of the
                   pretrial conference. The Court had a colloquy with Mr. Detling to confirm his


                                                                                                         17
                   awareness of the existence of a plea agreement. The jurors were brought in and
                   voir dire was conducted. The Court struck jurors #6, #19, #28 for cause. The
                   Court granted hardship excusals for jurors #43, #10, #13, #16, and #40 A jury
                   was selected and sworn. The Court gave preliminary instructions to the jurors.
                   Court adjourned and will reconvene at 9:00 AM on Friday, October 22, 2021.
                   Jurors excused until the above time under the usual caution of the Court. (Court
                   Reporter Montrell Vann) (cmd) (Entered: 10/25/2021)
10/21/2021         ORDER GRANTING IN PART and DEFERRING IN PART the 29 Motion to
                   Strike as to Chalmer Detling II (1). Ruled on by Judge Leigh Martin May on
                   10/19/2021 during the 140 Pretrial Conference. (cmd) (Entered: 10/25/2021)
10/22/2021   142   ORDER ALLOWING AUDIO/VISUAL EQUIPMENT IN THE
                   COURTROOM beginning October 25, 2021 as to Chalmer Detling, II. Signed
                   by Judge Leigh Martin May on 10/22/2021. (bnp) (Entered: 10/22/2021)
10/22/2021   144   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   as to Chalmer Detling, II held on 10/22/2021. Outside of the presence of the
                   jurors, the Court notified counsel that juror #9 called out sick. The Court
                   removed the juror from the trial. Jurors were brought in an and opening
                   statements were heard. The Government's case began. The Government's
                   exhibits 84−136, 303−335, 410−425, 430−432 were admitted. The Court gave
                   the jurors a cautionary instruction on 404(b) evidence. Jenny Mittelman was
                   sworn and testified. During a bench conference the Court suggested defense
                   counsel consider a jury instruction related to the GA Bar investigation.
                   Government's exhibits 340−345, 434−439, 348, 349, 368, 386, 350, 389 were
                   admitted. Government's exhibits 365, 351, 379, 440 were admitted as modified.
                   Defense cross−examined Ms. Mittelman. Brooks Neely was sworn and
                   testified. Government's exhibit 233 was conditionally admitted. Defense
                   cross−examined Mr. Nelly. Defendant's exhibit 14 was admitted. Michael Sean
                   Kelley was sworn and testified. Government's exhibit 346 was admitted. The
                   government moved to conditionally admit exhibit 42. Defense objected. The
                   Court excused the jurors to address the issue with counsel. Defense counsel
                   requested to question the Government's upcoming witness, Ms. Caballero, and
                   to potentially call their own witness to rebut the evidence. The Court set the
                   hearing for 8:30 a.m. Monday, October 25th and instructed defense counsel to
                   provide the Government with the list of exhibits defense counsel intends to
                   address with the witness. Defense counsel raised the Court's pretrial conference
                   ruling regarding evidence as to former clients' financial harm and argued that
                   the Government had opened the door on the issue. The Court did not change
                   the ruling but contemplated adding a jury instruction to address the issue. Court
                   adjourned and will reconvene at 8:30AM on Monday, October 25, 2021. Jurors
                   excused until 9:00AM on Monday under the usual caution of the Court.
                   (Exhibits retained to be forwarded to the Clerk's Office.) (Court Reporter
                   Montrell Vann) (cmd) (Entered: 10/25/2021)
10/25/2021   145   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   as to Chalmer Detling, II held on 10/25/2021. The Court heard from
                   Defendant's and Government's counsel regarding Defendant's objection as to
                   the admissibility of certain exhibits under Rule 803(6)(E) and Rule 901. The
                   Court overruled the objections. Defendant's counsel renewed their Motion in
                   Limine to Exclude Prior Settlements 106 . The jury entered and the
                   Government's case continued. Holly Miller was sworn and testified. Defense


                                                                                                       18
                   counsel cross−examined Ms. Miller. Defendant's exhibit 6 & 16 were admitted.
                   Government continued direct examination of Michael Sean Kelley (continued
                   from 10/22/21). Government's exhibit 429 was admitted. Defendant's counsel
                   cross−examined Mr. Kelley. William Guilford was sworn and testified.
                   Government's exhibit 442 was admitted. Defense counsel cross−examined Mr.
                   Guilford. Defendant's exhibit 7 was admitted. Caitlin Wade Caballero was
                   sworn and testified. Government's exhibits, 44−47, 79, 80, 81, 83, 38, 40, 42,
                   43 were admitted. The jurors were excused for lunch. The Court informed
                   counsel that the government had opened the door on the defendant's motion in
                   limine as to financial harm. The Court suggested adding a jury instruction to
                   address the issue. The jurors returned from lunch and Ms. Caballero's
                   testimony continued. Government's exhibits 1, 3, 4, 5, 32−35, 72, 74, 75, 76, 7,
                   8, 9, 12, 50, 51, 54, 428, 57, 60, 62, 63, 427, 67, 68, 69, 70, 39, 2, 347, 11, 31,
                   37, 49, 61, 64, 71, 78, 14−18, 21, 23−26, 28 were admitted. Defense counsel
                   cross−examined Ms. Caballero Amie Ingram was sworn and testified. Jurors
                   were excused for the day. The Court heard from the parties regarding
                   Defendant's objections to emails the Government intended to admit during Josh
                   Schwadron's testimony. The Court directed counsel to confer and narrow the
                   issue. Court adjourned and will reconvene at 9:15 AM on Tuesday, October 26,
                   2021. (Exhibits retained to be forwarded to the Clerk's Office.) (Court Reporter
                   Montrell Vann) (cmd) (Entered: 10/27/2021)
10/26/2021   146   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   as to Chalmer Detling, II held on 10/26/2021. The Government's case
                   continued. Government continued direct examination of Amie Ingram
                   (continued from 10/25/21). Government's exhibits 277, 282, & 441 were
                   admitted for limited purposes. During a bench conference, Defendant's counsel
                   requested a curative jury instruction related to hearsay. Defendant's counsel
                   cross−examined Ms. Ingram. Defendant's exhibits 18 & 19 were admitted. The
                   jurors were excused for lunch. The Court heard from the parties on Defendant's
                   objections to various exhibits. The Court did not exclude Government's
                   exhibits 286 or 288. The Court modified Government's exhibit 400 to allow
                   only the last page. The Court did not allow the Government to admit portions
                   of the transcript of Ms. Ingram's testimony before the GA Bar. The Court did
                   not exclude Government's exhibit 403. The jury entered and the Government
                   began re−direct of Ms. Ingram followed by Defendant's counsel's re−cross.
                   Josh Schwadron was sworn and testified. Government's exhibits 138−149,
                   150−161, 162−178, 179−200, 201−221, 222−262, 263−270, 271−284,
                   286−288, 336−339, 400 (as modified), 406, & 441 were admitted as business
                   records. Jurors were excused for the day. The Court reminded to counsel to
                   confer as to the redacted Indictment and to draft and exchange proposed
                   limiting jury instructions. Government's counsel agreed with defense counsel's
                   request for the Court to charge the jury prior to closing arguments. The Court
                   will hear the parties' arguments on the Government's summary chart on
                   Wednesday. Court adjourned and will reconvene at 9:00 AM on Wednesday,
                   October 27, 2021. (Exhibits retained to be forwarded to the Clerk's Office.)
                   (Court Reporter Montrell Vann) (cmd) (Entered: 10/27/2021)
10/27/2021   149   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   as to Chalmer Detling, II held on 10/27/2021. Government's case continued
                   with the direct examination of Josh Schwadron. Defendant's counsel cross
                   examined Mr. Schwadron. Amie Ingram was recalled by the Government and


                                                                                                         19
                   testified. Defendant's counsel cross−examined Ms. Ingram. Defendant's exhibit
                   4 was admitted. Kim Post was sworn and testified. Defendant's counsel
                   cross−examined Ms. Post. Defendant's exhibit 5 was admitted. Hugh Brammer
                   was sworn and testified. Defendant's counsel cross−examined Mr. Brammer.
                   Outside the presence of the jury, Governments counsel argued that Defendant
                   had opened the door regarding altered documents. The Court disagreed and
                   denied the request. Doug McMaster was sworn and testified. Defendant's
                   counsel cross−examined Mr. McMaster. Ben Copeland was sworn and
                   testified. Government's exhibit 407 was admitted as modified. Defendant's
                   counsel cross−examined Mr. Copeland. Defendant's exhibit 21 was admitted.
                   Luther Warrick was sworn and testified. The jury was excused for the day. The
                   Court heard from the parties' regarding Government's Motion in Limine to
                   Admit Summary Chart 114 . The Court GRANTED the Motion and will
                   conditionally admit the summary chart with the agreed modifications. The
                   Court directed Government's counsel to provide a proposed limiting instruction
                   regarding the summary chart. Court adjourned and will reconvene at 9:00 AM
                   on Thursday, October 28, 2021. Jurors excused until the above time under the
                   usual caution of the Court. (Exhibits retained to be forwarded to the Clerk's
                   Office.) (Court Reporter Montrell Vann) (cmd) (Entered: 10/29/2021)
10/28/2021         Documents 147−148 are sealed. (jpa) (Entered: 10/28/2021)
10/28/2021   156   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   as to Chalmer Detling, II held on 10/28/2021. Government's case continued
                   with direct examination of Luther Warrick. Defendant's counsel
                   cross−examined Mr. Warrick. Defendant's exhibit 2 was admitted. Kellin Jett
                   was sworn and testified. Defendant's counsel cross−examined Mr. Jett.
                   Defendant's exhibit 25 was admitted. Brandi Pajot was sworn and testified.
                   Outside the presence of the jury, the Court heard from counsel on Defendant's
                   intent to use certain documents for impeachment. Defendant's counsel
                   cross−examined Ms. Pajot. Dr. Howard Golden was sworn and testified.
                   Defendant's counsel cross−examined Dr. Golden. On redirect, Defendant's
                   exhibit 24 was admitted on Government's motion. Mackenzie Cole was sworn
                   and testified. Government's exhibits 391, 392, 388, 381, and 382 were
                   admitted. The jury was excused for the day. Charge conference held.(Exhibits
                   retained to be forwarded to the Clerks Office.) (Court Reporter Montrell Vann)
                   (bnp) (Entered: 11/03/2021)
10/29/2021         ORAL MOTION for Judgment of Acquittal by Chalmer Detling, II. (bnp)
                   (Entered: 11/03/2021)
10/29/2021   157   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   as to Chalmer Detling, II held on 10/29/2021. The Court heard from counsel on
                   the proposed jury instructions. The jurors entered and the Government's case
                   continued with direct examination of Mackenzie Cole. Defendant's counsel
                   cross−examined Ms. Cole. Defendant's exhibit 28 was admitted. Outside the
                   presence of the jury, the Government requested a curative instruction regarding
                   a question on cross and moved to exclude certain statements from Defendant's
                   closing argument. Defendant's counsel did not object to the closing argument
                   request. The Court instructed the jurors as to the question heard during
                   cross−examination. On Defendant's counsel's re−cross, Government's exhibit
                   444 was admitted. Shane Matthew Lake was sworn and testified. Defendant's
                   counsel cross−examined Mr. Lake. Amy Alexis Antime was sworn and


                                                                                                     20
                   testified. Defendant's counsel cross−examined Ms. Antime. Vanji Mercer was
                   sworn and testified. Defendant's counsel cross−examined Ms. Mercer. Robert
                   Vickers was sworn and testified. Government's exhibits 393, 394, 290, 291,
                   293−300, 302, 405 were admitted. Antoinette Ferrari was sworn and testified.
                   Government's exhibit 445 was admitted. Defendant's counsel cross−examined
                   Ms. Ferrari. Government rested. Outside the presence of the jury, Defendant
                   made a Rule 29 motion as to all counts. The Court advised the defendant of his
                   right not to testify. Jurors returned and the Court read the parties' stipulation
                   regarding financial harm. Defendant's case began. Amie Ingram was recalled.
                   Defendant's exhibit 32 was admitted. Government's counsel cross−examined
                   Ms. Ingram. Marianne Detling was sworn and testified. Defendant rested.
                   Jurors were excused for the day. The Court heard Defendant's counsel's proffer
                   regarding Defendant's exhibit 11 (not admitted). The Court heard from the
                   parties on Defendant's Rule 29 motion and DENIED the motion. Charge
                   conference held.(Exhibits retained to be forwarded to the Clerks Office.);
                   (Court Reporter Montrell Vann) (bnp) (Entered: 11/03/2021)
10/30/2021   150   Requests to Charge as to Chalmer Detling, II (Wade, Caitlyn) (Entered:
                   10/30/2021)
10/30/2021   151   Requests to Charge as to Chalmer Detling, II (Wade, Caitlyn) (Entered:
                   10/30/2021)
10/31/2021   152   Requests to Charge as to Chalmer Detling, II filed by USA (Kaushal, Samir)
                   (Entered: 10/31/2021)
11/01/2021   153   Jury Instructions as to Chalmer Detling, II (bnp) (Entered: 11/02/2021)
11/01/2021   154   JURY VERDICT as to Chalmer Detling II (1) Guilty on Count 4s−7s,11s−15s.
                   (bnp) (Entered: 11/02/2021)
11/01/2021         ORAL MOTION for Detention by USA as to Chalmer Detling, II. (bnp)
                   (Entered: 11/03/2021)
11/01/2021   158   Minute Entry for proceedings held before Judge Leigh Martin May: Jury Trial
                   as to Chalmer Detling, II held on 11/1/2021. Charge conference held. Jury
                   charged. Closing arguments were heard. Deliberations began. The jury reached
                   a verdict and found Defendant guilty on counts 4−7 and 11−15 of the
                   Superseding Indictment. Defendant requested the jury be polled. The Clerk
                   polled the jury. Sentencing is set for Monday, January 31, 2022, at 1:30 p.m.
                   The Court requires sentencing memorandum and any other information that a
                   party wants the Court to consider in connection with the sentencing be
                   submitted to the Court and served on opposing counsel 5 business days before
                   the sentencing hearing. Detention hearing held. Government's counsel made an
                   ORAL Motion for Detention. The Court DENIED the motion and modified
                   Defendant's bond to add curfew and location monitoring conditions.(Exhibits
                   retained to be forwarded to the Clerks Office.). (Court Reporter Montrell Vann)
                   (bnp) (Entered: 11/03/2021)
11/01/2021   159   NOTICE OF SENTENCING Set as to Chalmer Detling, II. Sentencing set for
                   1/31/2022 at 01:30 PM in ATLA Courtroom 2107 before Judge Leigh Martin
                   May. (bnp) (Entered: 11/03/2021)
11/02/2021   155   ORDER: The Court modifies the Magistrate Judge's Order Setting Conditions
                   of Release 14 and the Magistrate Judge's Order Modifying Conditions of


                                                                                                       21
                   Release 23 to include CURFEW and LOCATION MONITORING. The
                   defendant, Chalmer Detling, II, shall be restricted to his residence as directed
                   by the pretrial services office or supervising officer. Mr. Detling shall submit to
                   location monitoring as directed by the pretrial services office or supervising
                   officer and comply with all of the program requirements and instructions
                   provided. The defendant must pay all or part of the cost of the program based
                   on his ability to pay as determined by the pretrial services office or supervising
                   officer. All other previous bond conditions shall remain in effect. Signed by
                   Judge Leigh Martin May on 11/1/2021. (rjc) (Entered: 11/02/2021)
11/10/2021   160   MOTION for Extension of Time to File Motion for New Trial by Chalmer
                   Detling, II. (Hashimi, Suzanne) (Entered: 11/10/2021)
11/10/2021   161   ORDER as to Chalmer Detling II (1). The 160 Motion for Extension of Time is
                   GRANTED. Defendant's Motion for New Trial shall be due fourteen days after
                   the requested parts of the trial transcript are prepared. Signed by Judge Leigh
                   Martin May on 11/10/2021. (tcc) (Entered: 11/10/2021)
11/22/2021   162   Unopposed MOTION to Travel outside Jurisdiction November 24, 2021 to
                   November 26, 2021 with Brief In Support by Chalmer Detling, II.
                   (Attachments: # 1 Text of Proposed Order) (Wade, Caitlyn) (Entered:
                   11/22/2021)
11/22/2021   163   ORDER granting 162 Motion to Travel outside Jurisdiction as to Chalmer
                   Detling II (1). Signed by Judge Leigh Martin May on 11/22/2021. (bnp)
                   (Entered: 11/22/2021)
12/03/2021   164   TRANSCRIPT of Jury Trial Government Opening Statements Proceedings as
                   to Chalmer Detling, II held on 10/21/2021, before Judge Leigh Martin May.
                   Court Reporter Montrell Vann. Transcript can be purchased through the Court
                   Reporter at Montrell_Vann@gand.uscourts.gov. Redaction Request due
                   12/27/2021. Redacted Transcript Deadline set for 1/3/2022. Release of
                   Transcript Restriction set for 3/3/2022. (Attachments: # 1 Appendix Notice of
                   Filing of Transcript) (mv) (Entered: 12/03/2021)
12/03/2021   165   TRANSCRIPT of Jury Trial Closing Arguments Proceedings as to Chalmer
                   Detling, II held on 11/1/2021, before Judge Leigh Martin May. Court Reporter
                   Montrell Vann. Transcript can be purchased through the Court Reporter at
                   Montrell_Vann@gand.uscourts.gov. Redaction Request due 12/27/2021.
                   Redacted Transcript Deadline set for 1/3/2022. Release of Transcript
                   Restriction set for 3/3/2022. (Attachments: # 1 Appendix Notice of Filing of
                   Transcript) (mv) (Entered: 12/03/2021)
12/03/2021   166   TRANSCRIPT of Jury Trial Jury Charge Conference Proceedings as to
                   Chalmer Detling, II held on 10/28/2021, before Judge Leigh Martin May.
                   Court Reporter Montrell Vann. Transcript can be purchased through the Court
                   Reporter at Montrell_Vann@gand.uscourts.gov. Redaction Request due
                   12/27/2021. Redacted Transcript Deadline set for 1/3/2022. Release of
                   Transcript Restriction set for 3/3/2022. (Attachments: # 1 Appendix Notice of
                   Filing of Transcript) (mv) (Entered: 12/03/2021)
12/03/2021   167   TRANSCRIPT of Jury Trial Jury Charge Conference Proceedings as to
                   Chalmer Detling, II held on 11/1/2021, before Judge Leigh Martin May. Court
                   Reporter Montrell Vann. Transcript can be purchased through the Court
                   Reporter at Montrell_Vann@gand.uscourts.gov. Request due 12/27/2021.

                                                                                                         22
                   Redacted Transcript Deadline set for 1/3/2022. Release of Transcript
                   Restriction set for 3/3/2022. (Attachments: # 1 Appendix Notice of Filing of
                   Transcript) (mv) (Entered: 12/03/2021)
12/03/2021   168   TRANSCRIPT of Pretrial Conference Proceedings as to Chalmer Detling, II
                   held on 10/13/2021, before Judge Leigh Martin May. Court Reporter Montrell
                   Vann. Transcript can be purchased through the Court Reporter at
                   Montrell_Vann@gand.uscourts.gov. Redaction Request due 12/27/2021.
                   Redacted Transcript Deadline set for 1/3/2022. Release of Transcript
                   Restriction set for 3/3/2022. (Attachments: # 1 Appendix Notice of Filing of
                   Transcript) (mv) (Entered: 12/03/2021)
12/03/2021   169   TRANSCRIPT of Pretrial Conference Proceedings as to Chalmer Detling, II
                   held on 10/19/2021, before Judge Leigh Martin May. Court Reporter Montrell
                   Vann. Transcript can be purchased through the Court Reporter at
                   Montrell_Vann@gand.uscourts.gov. Redaction Request due 12/27/2021.
                   Redacted Transcript Deadline set for 1/3/2022. Release of Transcript
                   Restriction set for 3/3/2022. (Attachments: # 1 Appendix Notice of Filing of
                   Transcript) (mv) (Entered: 12/03/2021)
12/07/2021   170   MOTION for New Trial with Brief In Support by Chalmer Detling, II.
                   (Attachments: # 1 Exhibit Attachment A) (Wade, Caitlyn) (Entered:
                   12/07/2021)
12/14/2021   173   MOTION for Extension of Time Time to File Government's Response with
                   Brief In Supportby USA as to Chalmer Detling, II. (Attachments: # 1 Text of
                   Proposed Order) (Sistla, Alex) (Entered: 12/14/2021)
12/14/2021   174   ORDER granting 173 Unopposed Motion for an Extension to File Response to
                   Defendant's Motion for New Trial. The Government's response is due no later
                   than Tuesday, January 4, 2022. Signed by Judge Leigh Martin May on
                   12/14/2021. (bnp) (Entered: 12/14/2021)
01/04/2022   177   RESPONSE in Opposition as to Chalmer Detling, II filed by USA re 170
                   MOTION for New Trial (Sistla, Alex) (Entered: 01/04/2022)
01/18/2022   178   REPLY TO RESPONSE to Motion as to Chalmer Detling, II filed by Chalmer
                   Detling, II re: 170 MOTION for New Trial (Wade, Caitlyn) (Entered:
                   01/18/2022)
01/24/2022         Submission of 170 MOTION for New Trial as to Chalmer Detling, II to
                   District Judge Leigh Martin May. (bnp) (Entered: 01/24/2022)
01/25/2022         NOTICE OF CANCELLATION of Hearing as to Chalmer Detling, II. The
                   Sentencing set for 1/31/2022 at 01:30 PM is cancelled. New date to be
                   determined. (bnp) (Entered: 01/25/2022)
01/25/2022         NOTICE OF SENTENCING Reset as to Chalmer Detling, II. Sentencing set
                   for 2/10/2022 at 02:00 PM in ATLA Courtroom 2107 before Judge Leigh
                   Martin May. (bnp) (Entered: 01/25/2022)
02/03/2022   180   Sentencing Memorandum as to Chalmer Detling, II filed by USA
                   (Attachments: # 1 Exhibit Govt Sent. Ex. A−0)(Sistla, Alex) (Entered:
                   02/03/2022)
02/03/2022         Document 179 is sealed. (bgt) (Entered: 02/07/2022)


                                                                                                  23
02/04/2022   181   ORDER denying Defendant's 170 Motion for New Trial as to Chalmer Detling
                   II (1). Signed by Judge Leigh Martin May on 2/4/2022. (bgt) (Entered:
                   02/04/2022)
02/10/2022   182   Minute Entry for proceedings held before Judge Leigh Martin May: Sentencing
                   hearing held as to Chalmer Detling, II. The Court adopted the Presentence
                   Report and made it the findings of the Court, subject to the Court overruling
                   Defendant's objections to the victim enhancement and the role enhancement.
                   Defendant's counsel raised an additional objection as to the application notes
                   expanding the definition of victim. The Government objected to Defendant's
                   objection as untimely. The Court overruled the objection. The Court heard
                   from Government's and Defendant's counsel. Government's exhibits 1 and 2
                   admitted. The Court pronounced the sentence as a total of 70 months CBOP, 3
                   years supervised release, no fine, a special assessment of $900, and restitution
                   in the amount of $254,837.89. The Court allowed the Defendant to voluntarily
                   surrender. The Court inquired about objections to the sentence. Government's
                   counsel objected on substantive reasonableness grounds. Defendant's counsel
                   maintained the objections to the guidelines and objected to the search condition
                   of Defendant's supervised release. The Court advised Defendant of his right to
                   appeal his sentence. (Exhibits retained to be forwarded to the Clerk's Office.)
                   (Court Reporter Montrell Vann) (cmd) (Entered: 02/11/2022)
02/11/2022   183   JUDGMENT AND COMMITMENT as to Chalmer Detling, II (1), Counts
                   1−7, 1s−3s, 8−15, 8s−10s, DISMISSED PURSUANT TO STANDING
                   ORDER 07−04; Counts 4s−7s and 11s−15s, CBOP 46 MONTHS as to Counts
                   Four, Five, Six, and Seven with all counts to run concurrent to each other, and
                   24 MONTHS as to Counts Eleven, Twelve, Thirteen, Fourteen, and Fifteen, to
                   be served concurrent with each other and consecutive to Counts Four through
                   Seven, for a total sentence of SEVENTY (70) MONTHS; SUPERVISED
                   RELEASE 3 YEARS as to Counts Four through Seven, to run concurrently
                   with each other, and 1 YEAR as to Counts Eleven through Fifteen, to run
                   concurrently with each other, with all counts to run concurrently for a total
                   term of THREE (3) YEARS; $900 total Special Assessment; $185,837.89 in
                   Restitution to Mighty Group, Inc and $69,000.00 in Restitution to Capital
                   Financing, to be paid in full immediately. The Court recommends that the
                   defendant be incarcerated at a facility as close as possible to Montgomery,
                   Alabama in order to be close to his family. The defendant shall voluntarily
                   surrender to the United States Marshal for this district or report to the
                   designated facility for service of sentence as directed by the United States
                   Marshal. Signed by Judge Leigh Martin May on 2/11/2022. −−Please refer to
                   http://www.ca11.uscourts.gov to obtain an appeals jurisdiction checklist−−
                   (cmd) (Entered: 02/11/2022)
02/11/2022   184   Government's EXHIBITS admitted and retained at the 182 Sentencing as to
                   Chalmer Detling, II have been received from Courtroom Deputy and placed in
                   the custody of the Records Clerks. (Attachments: # 1 Exhibit GE #1, # 2
                   Exhibit GE #2)(ceo) (Entered: 02/11/2022)
02/11/2022   185   NOTICE TO COUNSEL OF RECORD regarding RECLAMATION AND
                   DISPOSITION OF UNCLAIMED Documentary EXHIBITS pursuant to Local
                   Rule 79.1D. Re: 184 Exhibits. (ceo) (Entered: 02/11/2022)
02/25/2022   186   NOTICE OF APPEAL as to Chalmer Detling, II re 183 Judgment and


                                                                                                      24
                   Commitment,,,,,. Transcript Order Form due on 3/11/2022 (Hashimi, Suzanne)
                   (Entered: 02/25/2022)
02/25/2022         Request For Presentence Investigation Report as to Chalmer Detling, II re: 186
                   Notice of Appeal filed on 2/25/22. (pjm) (Entered: 02/25/2022)
02/25/2022   187   USCA Appeal Transmission Letter as to Chalmer Detling, II to 11th Circuit re:
                   186 Notice of Appeal filed by Chalmer Detling, II. (pjm) (Entered: 02/25/2022)




                                                                                                    25
       Case 1:18-cr-00309-LMM-LTW Document 11 Filed 08/10/18 Page 1 of 1

                                                                        F1lED IN OPEN COURT
                                                                          .I ; "" D r: A+i an t a
                                                                           \.  )   ••   ·�   ""   _   ·""''.     L



                          UNITED STATES DISTRICT COURT                                  AUG 1 0 2018
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION                         JA:v:i::»1'�/,��;1J�
                                                                         By.       �                           Deputy Clerk



 UNITED STATES OF AMERICA,

                       Plaintiff,

 vs.                                                   CASE NO. 1: 18-CR-309

 CHALMER DETLING, II,

                      Defendant.


                            ORDER APPOINTING COUNSEL

                                       Molly Parmer

       The above-named defendant has testified under oath or has filed with the Court

an affidavit of financial status and hereby satisfied this Court that he or she is financially

unable to employ counsel.


       Accordingly, the FEDERAL DEFENDER PROGRAM, INC., is hereby appointed


to represent this defendant in the above-captioned case unless relieved by an Order of

this Court or by Order of the Court of Appeals.

       Dated at Atlanta, Georgia this 10th day of August, 2018.




                                                                                                                              26
      Case 1:18-cr-00309-LMM-LTW Document 65 Filed 10/22/19 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

UNITED STATES OF AMERICA
                                              Criminal Action No.:
       versus                                 1:18-CR-00309-LMM-LTW

CHALMER DETLING, II


                   NOTICE OF SUBSTITUTION OF COUNSEL

       COMES NOW, Suzanne Hashimi of the Federal Defender Program, Inc.,

and hereby enters her appearance as counsel for the Defendant, Chalmer

Detling, II.    Undersigned counsel replaces Molly Hiland Parmer as counsel of

record for Mr. Detling.


       All pleadings, orders, and notices should be sent to undersigned counsel.

       Dated:      This 22nd day of October, 2019.

                                              Respectfully Submitted,

                                               /s/ Suzanne Hashimi
                                              SUZANNE HASHIMI
                                              GEORGIA BAR NO. 335616

                                              MOLLY HILAND PARMER
                                              GEORGIA BAR NO. 942501
                                              ATTORNEYS FOR MR. DETLING




                                                                                   27
     Case 1:18-cr-00309-LMM-LTW Document 65 Filed 10/22/19 Page 2 of 2



                        CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Notice of Substitution of Counsel has

been formatted in Book Antiqua 13 pt., in accordance with Local Rule 5.1B, and

was electronically filed this day with the Clerk of Court using the CM/ECF

system which will automatically send email notification of such filing to the

following counsel of record:

                         Alex Sistla and John Ghose
                         Assistant United States Attorneys
                         Suite 600, Richard B. Russell Building
                         75 Ted Turner Drive, S.W.
                         Atlanta, Georgia 30303

      Dated: This 22nd day of October, 2019.

                                            /s/ Suzanne Hashimi
                                            SUZANNE HASHIMI
                                            GEORGIA BAR NO. 335616
                                            ATTORNEY FOR MR. DETLING

Federal Defender Program, Inc.
Centennial Tower, Suite 1500
101 Marietta Street, N.W.
Atlanta, Georgia 30303
404-688-7530; Fax: 404-688-0768
Suzanne_Hashimi@fd.org




                                                                                  28
             Case 1:18-cr-00309-LMM-LTW Document 183 Filed 02/11/22 Page 1 of 7

                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

                                                         )
UNITED STATES OF AMERICA                                 )   JUDGMENT IN A CRIMINAL CASE
                                                         )
v.                                                           Case Number: 1:18-CR-309-LMM-LTW
                                                         )   USM Number: 71805-019
CHALMER DETLING, II                                      )
                                                         )   Caitlyn Virginia Wade
                                                         )   Defendant’s Attorney


THE DEFENDANT:

The defendant was found guilty on counts 4s-7s and 11s-15s of the First Superseding Indictment after a plea of
not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                     Offense Ended      Count

18 U.S.C. § 1343                    FRAUD BY WIRE, RADIO,                 April 1, 2015         4s
                                    OR TELEVISION


18 U.S.C. § 1343                    FRAUD BY WIRE, RADIO,                 April 30, 2015        5s
                                    OR TELEVISION


18 U.S.C. § 1343                    FRAUD BY WIRE, RADIO,                 October 21, 2015      6s
                                    OR TELEVISION


18 U.S.C. § 1343                    FRAUD BY WIRE, RADIO,                 November 4, 2015      7s
                                    OR TELEVISION


18 U.S.C. § 1028A(a)(1)             AGGRAVATED IDENTITY                   March 30, 2015       11s
                                    THEFT


18 U.S.C. § 1028A(a)(1)             AGGRAVATED IDENTITY                   March 31, 2015       12s
                                    THEFT


18 U.S.C. § 1028A(a)(1)             AGGRAVATED IDENTITY                   April 17, 2015       13s
                                    THEFT


18 U.S.C. § 1028A(a)(1)             AGGRAVATED IDENTITY                   October 20, 2015     14s
                                    THEFT



                                                                                                             29
             Case 1:18-cr-00309-LMM-LTW Document 183 Filed 02/11/22 Page 2 of 7

DEFENDANT: CHALMER DETLING, II
CASE NUMBER: 1:18-CR-309-LMM-LTW-1                                                       Judgment -- Page 2 of 7

18 U.S.C. § 1028A(a)(1)              AGGRAVATED IDENTITY                     November 3, 2015          15s
                                     THEFT

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

The remaining counts are dismissed pursuant to Standing Order 07-04.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.


                                                        February 10, 2022
                                                        Date of Imposition of Judgment


                                                        Signature of Judge

                                                        LEIGH MARTIN MAY, U. S. DISTRICT JUDGE
                                                        Name and Title of Judge

                                                         February 11, 2022
                                                        Date




                                                                                                                    30
                Case 1:18-cr-00309-LMM-LTW Document 183 Filed 02/11/22 Page 3 of 7

DEFENDANT: CHALMER DETLING, II
CASE NUMBER: 1:18-CR-309-LMM-LTW-1                                                       Judgment -- Page 3 of 7


Judgment in a Criminal Case
Sheet 2 -- Imprisonment

                                               IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term
of 46 MONTHS as to Counts Four, Five, Six, and Seven, with all counts to run concurrent to each other, and 24
MONTHS as to Counts Eleven, Twelve, Thirteen, Fourteen, and Fifteen, to be served concurrent with each
other and consecutive to Counts Four through Seven, for a total sentence of SEVENTY (70) MONTHS.

The Court recommends that the defendant be incarcerated at a facility as close as possible to Montgomery,
Alabama in order to be close to his family.

The defendant shall voluntarily surrender to the United States Marshal for this district or report to the
designated facility for service of sentence as directed by the United States Marshal




                                                    RETURN

I have executed this judgment as follows:




 Defendant delivered on                                     to

 at                                         , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL




                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                   31
                 Case 1:18-cr-00309-LMM-LTW Document 183 Filed 02/11/22 Page 4 of 7

DEFENDANT: CHALMER DETLING, II
CASE NUMBER: 1:18-CR-309-LMM-LTW-1                                                   Judgment -- Page 4 of 7


Judgment in a Criminal Case
Sheet 3 -- Supervised Release

                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of 3 YEARS as to Counts Four
through Seven, to run concurrently with each other, and 1 YEAR as to Counts Eleven through Fifteen, to run
concurrently with each other, with all counts to run concurrently for a total term of THREE (3) YEARS.




                                       MANDATORY CONDITIONS


1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
   court.
4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern District
   of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
5. You must cooperate in the collection of DNA as directed by the probation officer.

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




                                                                                                               32
                 Case 1:18-cr-00309-LMM-LTW Document 183 Filed 02/11/22 Page 5 of 7

DEFENDANT: CHALMER DETLING, II
CASE NUMBER: 1:18-CR-309-LMM-LTW-1                                                                          Judgment -- Page 5 of 7

                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
         time frame.
   2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
   4.    You must answer truthfully the questions asked by your probation officer.
   5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
   6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
         excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
         job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
         at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
   8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
         the probation officer.
   9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).
   11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
   12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
         the person and confirm that you have notified the person about the risk.
   13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.


 Defendant's Signature                                                      Date

 USPO's Signature                                                           Date




                                                                                                                                             33
             Case 1:18-cr-00309-LMM-LTW Document 183 Filed 02/11/22 Page 6 of 7

DEFENDANT: CHALMER DETLING, II
CASE NUMBER: 1:18-CR-309-LMM-LTW-1                                                    Judgment -- Page 6 of 7



                               SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following special conditions of supervision.

You must make full and complete disclosure of your finances and submit to an audit of your financial documents
at the request of your probation officer. You must provide the probation officer with full and complete access to
any requested financial information and authorize the release of any financial information. The probation office
may share the financial information with the United States Attorney's Office.

You must not incur new credit charges, or open additional lines of credit without the approval of the probation
officer.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
condition of your supervision and that areas to be searched contain evidence of this violation. Any search must
be conducted at a reasonable time and in a reasonable manner.

You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.




                                                                                                                34
                 Case 1:18-cr-00309-LMM-LTW Document 183 Filed 02/11/22 Page 7 of 7

DEFENDANT: CHALMER DETLING, II
CASE NUMBER: 1:18-CR-309-LMM-LTW-1                                                        Judgment -- Page 7 of 7


Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

                                         CRIMINAL MONETARY PENALTIES

The defendant shall pay to the United States a special assessment of $900 which shall be due immediately.

                   Special Assessment

TOTAL              $900.00

The Court finds that the defendant does not have the ability to pay a fine and cost of incarceration. The Court
waives the fine and cost of incarceration in this case.

                   Fine

TOTAL              $0

                   Restitution

TOTAL              $254,837.89

The defendant must make restitution in the amount of $254,837.89. Restitution shall be paid to the United States
District Court Clerk for distribution to:

 Name of Payee                              Restitution Ordered

 Mighty Group, Inc.                         $185,837.89
 43 West 24th Street, Sixth Floor
 New York, New York 10010

 Capital Financing                          $69,000.00
 316 Greyhaven Lane
 Marietta, GA 30068


 TOTALS                                     $254,837.89


Restitution shall be paid in full immediately.

Payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are to
be made payable to the Clerk, U.S. District Court, 2211 U.S. Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA
30303. Any balance that remains unpaid at the commencement of the term of supervision shall commence within 60
days after release from imprisonment on the following terms: payable at a rate of no less than $250 monthly to U.S.
District Court Clerk. You must notify the Court of any changes in economic circumstances that might affect the ability
to pay this financial penalty.


                                                                                                                     35
     Case 1:18-cr-00309-LMM-LTW Document 186 Filed 02/25/22 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA       )
                               )             CRIMINAL ACTION NO.
          vs.                  )             1:18-CR-00309-LMM-LTW-1
                               )
CHALMER DETLING, II            )
______________________________)

                              NOTICE OF APPEAL

      Notice is hereby given that defendant, CHALMER DETLING, II, hereby

appeals to the United States Court of Appeals for the Eleventh Circuit from the final

judgment and sentence entered in this action on the 11th day of February 2022.

      Dated: This 25th day of February, 2022.

                                Respectfully submitted,

                                /s/ Suzanne Hashimi
                                Suzanne Hashimi
                                Georgia Bar No. 335616

                                /s/ Caitlyn Wade
                                Caitlyn Wade
                                Georgia Bar No. 259114

                                Attorney for Chalmer Detling, II

Federal Defender Program, Inc.
101 Marietta Street, N.W., Suite 1500
Atlanta, Georgia 30303
(404) 688-7530; (404) 688-0768 fax
Suzanne_Hashimi@fd.org
Caitlyn_Wade@fd.org



                                                                                        36
